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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION


    JANFRANK BERRIOS LAGUNA,                          §
                Petitioner                            §
                                                      §
    v.                                                §
                                                      §
    TODD M. LYONS, Acting Director,                   §
    United States Immigration and Customs             §
    Enforcement, in his official capacity;
    PAMELA BONDI, United States                       §                  1:25-CV-00558-RP-SH
    Attorney General, in her official                 §
    capacity; KRISTI NOEM, Secretary of               §
    Homeland Security, in her official                §
    capacity; MIGUEL VERGARA, Field                   §
    Office Director, San Antonio Field                §
    Office, in his official capacity;                 §
    CHARLOTTE COLLINS, Warden at                      §
    the T. Don Hutto Residential Center, in           §
    her official capacity,                            §
                        Respondents                   §

                                          SHOW CAUSE ORDER

         Before the Court are Petitioner Janfrank Berrios Laguna’s Verified Petition for Writ of Habeas

Corpus Pursuant to 28 U.S.C. § 2241 (Dkt. 1), filed April 14, 2025, and Petitioner’s Application

for Immediate Issuance of Order to Show Cause (Dkt. 3), filed April 16, 2025. Petitioner has paid

the $5.00 filing fee required to bring such an action.1

                                            I.    Background

         Petitioner Janfrank Berrios Laguna alleges the following in his Petition. Petitioner is a

Venezuelan national who holds Temporary Protected Status (“TPS”) under 8 U.S.C. 1254a. Dkt.

1 at 1. The TPS statute provides that “[a]n alien provided temporary protected status under this


1
 On April 14, 2025, the District Court referred this case to this Magistrate Judge for disposition of non-
dispositive pretrial matters and Report and Recommendation as to case-dispositive motions, pursuant to
Rule 1 of Appendix C of the Local Rules of the United States District Court for the Western District of
Texas and the Court Docket Management Standing Order for United States District Judge Robert Pitman.
Dkt. 2.

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section shall not be detained by the Attorney General on the basis of the alien’s immigration status

in the United States.” 8 U.S.C. 1254a(d)(4). Id. The U.S. Immigration and Customs Enforcement

(“ICE”) unlawfully detained Petitioner on January 15, 2025.

    Petitioner alleges that his detention is a violation of the Immigration and Nationality Act

(“INA”), the TPS, and the Due Process Clause of the Fifth Amendment. Petitioner asks the Court

to grant him a Writ of Habeas Corpus under 28 U.S.C. § 2241 and order Respondents to release

him from custody. In addition, Petitioner asks the Court to issue a show cause order under 28

U.S.C. § 2243 directing Respondents to show cause why his habeas petition should not be granted.

Dkt. 3.

                                            II. Analysis

    This Court has jurisdiction to review Petitioner’s constitutional challenges to his detention

under 28 U.S.C. § 2241.2 See Zadvydas v. Davis, 533 U.S. 678, 688 (2001) (“We conclude that §

2241 habeas corpus proceedings remain available as a forum for statutory and constitutional

challenges to post-removal-period detention.”); Glushchenko v. United States Dep't of Homeland

Sec., 566 F. Supp. 3d 693, 702 (W.D. Tex. 2021) (“[T]his court has jurisdiction to decide statutory

and constitutional challenges to civil immigration detention”); Maldonado v. Macias, 150 F. Supp.

3d 788, 794 (W.D. Tex. 2015) (“[D]istrict courts retain the power to hear statutory and

constitutional challenges to civil immigration detention under § 2241[.]”).




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 The Court, however, does not have jurisdiction to consider challenges to final removal orders. 8 U.S.C. §
1252(a)(5); see also Glushchenko v. United States Dep’t of Homeland Sec., 566 F. Supp. 3d 693, 702 n. 57
(W.D. Tex. 2021).



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    Pursuant to 28 U.S.C. § 2243, Petitioner asks this Court to order Respondents to show cause

within three days as to why his Petition should not be granted. Section 2243 provides, in relevant

part:

                A court, justice or judge entering a writ of habeas corpus shall
                forthwith award the writ or issue an order directing the respondent
                to show cause why the writ should not be granted, unless it appears
                from the application that the applicant or person detained is not
                entitled thereto.

                The writ, or order to show cause shall be directed to the person
                having custody of the person detained. It shall be returned within
                three days unless for good cause additional time, not exceeding
                twenty days, is allowed.


28 U.S.C. § 2243.

    While the statute refers to three days, courts in this district have found that the strict time limits

in § 2243 “are subordinate to the district court’s authority to set deadlines under Rule 4 of Rules

Governing Section 2254 Cases in the United States District Courts.” Olya v. Garite, No. EP-25-

CV-00083-DCG, 2025 WL 890180, at *1 (W.D. Tex. Mar. 19, 2025) (citing cases). Instead, courts

have found that a 14-day deadline for respondents to respond to show cause orders to be

reasonable. See id.; Doe v. Garite, No. 3:25-cv-00046-KC (Dkt. 5) (W.D. Tex. Feb. 21, 2025).

    The Court agrees with Petitioner that a show cause order is necessary here. But to give

Respondents adequate time to brief the issues, the Court exercises its discretion to extend the

response deadline to 14 days.

    Accordingly, the Court ORDERS the Clerk to serve a copy of the Petition (Dkt. 1) on the

Respondents through their counsel, by certified mail, return receipt requested.

    It is FURTHER ORDERED that the Respondents shall SHOW CAUSE no later than May

1, 2025, why the Petitioner for Writ of Habeas Corpus should not be granted.




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   It is FURTHER ORDERED that Petitioner may file a reply in support of his Petition within

10 days of being served with the Show Cause Response.

   SIGNED on April 17, 2025.


                                                 SUSAN HIGHTOWER
                                                 UNITED STATES MAGISTRATE JUDGE




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